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11
                             IN THE UNITED STATES DISTRICT COURT
12
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
13
                                       SACRAMENTO DIVISION
14

15
      RALPH COLEMAN, et al.,                                       NO. CIV S-90-0520 LKK JFM P
16
                                                     Plaintiffs,   [PROPOSED] ORDER
17                                                                 APPROVING JOINT
                      v.                                           REQUEST FOR AN
18                                                                 EXTENSION OF TIME TO
      ARNOLD SCHWARZENEGGER, et al.,                               RESPOND TO COURT
19                                                                 ORDER OF JUNE 21, 2006
                                                   Defendants.
20

21
            GOOD CAUSE SHOWN, the deadline for both parties to submit briefs in response
22
     this Court’s order of June 21, 2006 is extended to July 11, 2006.
23
     DATED:
24                                                Lawrence K. Karlton
                                                  United States District Court Judge
25

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     ORDER RE. EOT
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    Case 2:90-cv-00520-KJM-SCR            Document 1869         Filed 06/30/06      Page 2 of 2


                        DECLARATION OF SERVICE BY U.S. MAIL

Case Name:     Ralph Coleman, et al. v. Arnold Schwarzenegger, et al.
Court:         U.S. District Court, Eastern District of California
Case No.:      2:90-CV-0520-LKK-JFM-P
I declare:

I am employed in the Office of the Attorney General, which is the office of a member of the
California State Bar which member's direction this service is made. I am 18 years of age and
older and not a party to this matter. I am familiar with the business practice at the Office of the
Attorney General for collection and processing of correspondence for mailing with the United
States Postal Service. In accordance with that practice, correspondence placed in the internal
mail collection system at the Office of the Attorney General is deposited with the United States
Postal Service that same day in the ordinary course of business.

On June 30, 2006 , I served the attached [PROPOSED] ORDER APPROVING JOINT
REQUEST FOR AN EXTENSION OF TIME TO RESPOND TO COURT ORDER OF
JUNE 21, 2006 by placing a true copy thereof enclosed in a sealed envelope with postage
thereon fully prepaid, in the internal mail collection system at the Office of the Attorney General
at 1300 I Street, Post Office Box 944255, Sacramento, California 94244-2550, addressed as
follows:

 PETE COCKCROFT, H-86887
 California State Prison, Sacramento
 FA2-205
 Post Office Box 290066
 Represa, CA 95671-0066

 KIMBERLY S. DAVENPORT
 California Medical Association
 221 Main Street
 San Francisco, CA 94105

 STEPHEN W. MAYBERG
 California Department of Mental Health
 1600 Ninth Street, Room 151
 Sacramento, CA 95814

I declare under penalty of perjury under the laws of the State of California the foregoing is true
and correct and that this declaration was executed on June 30, 2006, at Sacramento, California.


                 M. McIntosh                                       / s / M. McIntosh
                  Declarant                                              Signature
30135966.wpd
